
This is an appeal by the Carborundum Company, employer, and Travelers Insurance Company, carrier, from a decision made by a referee and a decision made by the Compensation Board which held that the provisions of subdivision 8-a *1093[repealed by L. 1945, eh. 872] of section 15 of the Workmen’s Compensation Law were not applicable to the case at bar. The claimant was injured while putting a mold weighing about sixty-five pounds on a press and while doing so he missed the opening and the mold slipped off the large press. He attempted to prevent it from falling and in doing so twisted his body and experienced pain in both groins, with resulting hernia. The board found that claimant was permanently partially disabled at the time of the employment by the Carborundum Company, employer, on March 17, 1942, and that the provisions of subdivision 8-a of section 15 had no application. The evidence sustains the finding of the board. Decision affirmed, with costs to the Workmen’s Compensation Board. Hill, P. J., Heffernan, Foster and Russell, JJ., concur; Brewster, J., taking no part. [See post, p. 1095.]
